     Case 4:24-cv-02455        Document 31     Filed on 03/19/25 in TXSD       Page 1 of 1
                                                                                  United States District Court
                                                                                    Southern District of Texas

                             1N THE UNITED STATES DISTRJCT COURT
                                                                                       ENTERED
                                                                                      March 19, 2025
                             FOR THE SOUTHERN DISTRJCT OF TEXAS                     Nathan Ochsner, Clerk


                                      HOUSTON DMSION

Anida Overshown-Nunez,                          §
                                                §
                Plaintiff,                      §
v.                                              §
                                                §    Civil Action No. H-24-2455
City of Houston, Texas, et al.,                 §
                                                §
                Defendants.                     §

                                           O R D ER

         Having reviewed the Magistrate Judge's Report and Recommendation ( docket no. 30) dated

February 27, 2025, and no party having filed timely objections thereto, the Court is of the

opinion that the Memorandum and Recommendation should be adopted by this Court.

         It is, therefore, 0RDERED that the Magistrate Judge's Report and Recommendation is

hereby ADOPTED by this Court.

         It is further ORDERED that Defendant City of Houston, Texas' 12(b)(6) Motion for Partial

Dismissal of Plaintiffs First Amended Complaint (docket no. 23) is GRANTED and the

whistleblower retaliation claim and overtime claims accrued before July I, 2021, are DISMISSED

WITH PREJUDICE.

         SIGNED at Houston, Texas, on this the J9th day of March, 2025




                                                           SIM LAKE
                                             SENIOR UNITED STATES DISTRJCT JUDGE
